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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201 (ABJ)
 PAUL J. MANAFORT, JR.


                Defendant.


              GOVERNMENT’S MOTION FOR PERMISSION TO OBTAIN
              SEALED PORTIONS OF NOVEMBER 30, 2018, TRANSCRIPT

        The United States of America, by and through Special Counsel Robert S. Mueller III,

respectfully moves for permission to obtain a copy of the November 30, 2018 scheduling

conference transcript, including all sealed portions. The United States does not seek to unseal the

transcript to the public.

                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER III
                                                     Special Counsel

Dated: December 4, 2018                      By:     __/s/__Andrew Weissmann___
                                                     Andrew Weissmann
                                                     U.S. Department of Justice
                                                     Special Counsel’s Office
                                                     950 Pennsylvania Avenue N.W.
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                                                     Attorney for the United States of America
